        Case 1:18-cv-00204-TCW Document 242 Filed 05/21/18 Page 1 of 12



                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                 BID PROTEST

FMS INVESTMENT CORP., et al.,                      )
                                                   )
       Plaintiffs,                                 )
                                                   )
v.                                                 )               No. 18-204C
                                                   )               (Consolidated)
UNITED STATES OF AMERICA,                          )
                                                   )               Judge Thomas C. Wheeler
       Defendant,                                  )
                                                   )
and                                                )
                                                   )
PERFORMANT RECOVERY, INC., et al.,                 )
                                                   )
       Defendant-Intervenors.                      )
                                                   )

              PLAINTIFF PROGRESSIVE FINANCIAL SERVICES, INC.’S
               OPPOSITION TO DEFENDANT’S MOTION TO DISMISS

       Plaintiff, Progressive Financial Services, Inc., (“Progressive”), files this Response to

Defendant Department of Education’s (“ED” or the “Agency”) Motion to Dismiss. As

demonstrated below, Progressive has requested leave to file a Supplemental Complaint to assert

additional grounds of protest relating to ED’s continuing irrational actions, and therefore its bid

protest is not moot; rather, in light of Progressive’s Supplemental Complaint, the Government’s

motion to dismiss the original complaint is now moot. The Government’s Motion should be

denied, and the parties should proceed to the merits of Progressive’s protest, as this Court

continues to have subject matter jurisdiction over ED’s actions.

                                              FACTS

       In December 2015, the Department of Education (“ED” or the “Agency”) issued

Solicitation No. ED-FSA-16-R-0009 (the “Solicitation”) for default collection services under

indefinite delivery/indefinite quantity (IDIQ) contracts. In December 2016, ED awarded
        Case 1:18-cv-00204-TCW Document 242 Filed 05/21/18 Page 2 of 12



contracts under the Solicitation to seven firms. Progressive was not awarded a contract.

Following ED’s award decision, 22 firms, including Progressive, protested the contract awards at

the Government Accountability Office (“GAO”), challenging ED’s evaluation of proposals and

resulting award decisions. On March 27, 2017, GAO issued a decision identifying multiple

errors with the evaluation of proposals under the Solicitation, including Progressive’s, and

recommending the Agency conduct and adequately document a new evaluation of proposals, and

prepare and adequately document a new source selection document. Gen. Revenue Corp., B-

414220.2 et al., Mar. 27, 2017, 2017 CPD ¶ 106.

       In March, April, and May 2017, a number of firms filed complaints in the U.S. Court of

Federal Claims (“COFC”).1 After a lengthy protest process, and in response to the numerous

protests filed, on May 19, 2017, the Agency announced it would take corrective action by

making minor amendments to the Solicitation, requesting revised proposals, and conducting a

new evaluation. Continental Service, No. 17-449C, Dkt. Nos. 122–135. After months of delay,

on December 12, 2017 this Court ordered the Agency to make its final award decisions and

complete corrective action by January 11, 2018. Case No. 17-449C, Dkt. No. 215.

       On January 11, 2018, in order to meet the Court’s deadline, the Agency announced it had

completed its reevaluation of revised proposals and had awarded new contracts under the

Solicitation to Performant Recovery, Inc. (“Performant”) and Windham Professionals, Inc.

(“Windham”). Case No. 17-449C, Dkt. No. 231.



1
  See Continental Service Group, Inc. v. United States, No. 17-449 (“Continental Service”),
Account Control Technology, Inc. v. United, States, No. 17-493, Pioneer Credit Recovery, Inc. v.
United States, No. 17-499, Alltran Education, Inc. v. United States, No. 17-517, Collection
Technology, Inc. v. United States, No. 17-578, Van Ru Credit Corp. v. United States, No. 17-633,
Continental Service Group, Inc. v. United States, No. 17-664, Automated Collection Services,
Inc. v. United States, No. 17-765.



                                                 2
        Case 1:18-cv-00204-TCW Document 242 Filed 05/21/18 Page 3 of 12



       After it received its debriefing, Progressive filed its Complaint with this Court protesting

ED’s irrational, arbitrary, and capricious evaluation and the resulting flawed award decisions on

February 13, 2018. See Progressive Financial Services, Inc. v. United States, No. 18-220C, Dkt.

No. 1.2 Progressive’s case was consolidated with 19 other protests as the above-captioned case,

Case No. 18-204C.

       On March 9, 2018 the Government produced a consolidated Administrative Record in

this matter, and the parties began preparing Motions for Judgment on the Administrative Record

pursuant to the schedule set by the Court. See Dkt. Nos. 18, 131. On March 12, 2018,

Progressive and several other plaintiffs filed Motions to Supplement the Administrative Record.

See Dkt. Nos. 142, 159; 135–138. The Court subsequently suspended the briefing schedule. Dkt.

No. 139.

       On March 19, 2018, the Government filed a Notice with the Court that stated as follows:

       Since the 19 protests currently pending before the Court were filed, ED has been
       reviewing this solicitation in order to assess its options and to identify the best path
       forward for the agency and borrowers. ED has reached a point in its analysis where
       it appears likely that a course of action other than continued litigation of the pending
       protests will be pursued. ED has not completed the analysis yet and has not made a
       final decision as to a course of action. All options remain on the table.

Dkt. No. 149. After several parties objected to ED’s vague statements and lack of direction, the

Government replied that it would “commit to filing an update with the Court no later than April

11, 2018, that will set a firm date for the announcement of ED’s final decision on how ED

intends to proceed.” Dkt. No. 154. The Court suspended briefing on the merits of plaintiffs’

protest allegations pending the announcement from ED, although the Government continued to

provide documents and supplement the AR.



2
  References to Progressive’s Complaint herein reference Progressive’s Supplemental Complaint,
filed as Exhibit A to Dkt. No. 236.


                                                  3
        Case 1:18-cv-00204-TCW Document 242 Filed 05/21/18 Page 4 of 12



       On April 11, 2018, the Government once again failed to provide any definitive statement

of its intentions, advising the Court and the parties only that it would file another notice on or

before May 4, 2018 to advise on ED’s proposed course of action. Dkt. No. 178. Then, on May

3, 2018, the Government filed a Notice with the Court indicating that it had completed its review

of the Solicitation, and that it had decided to cancel the Solicitation “due to a substantial change

in the requirements to perform collection and administrative resolution activities on defaulted

Federal student loan debts.” Dkt. No. 188 at 1. The May 3 Notice provided:

       In the future, ED plans to significantly enhance its engagement at the 90-day
       delinquency mark in an effort to help borrowers more effectively manage their
       Federal student loan debt. ED expects these enhanced outreach efforts to reduce the
       volume of borrowers that default, improve customer service to delinquent
       borrowers, and lower overall delinquency levels. The current private collection
       agencies (PCA) under contract with ED have sufficient capacity to absorb the
       number of accounts expected to need debt collection services while the process for
       transitioning to the new approach is developed and implemented. Therefore,
       additional PCA contract work is not currently needed.

Id. However, the handful of current PCA contracts have essentially the same capacity they have

had for years, and, despite ever-increasing default rates, the only new concept in the

Government’s May 3 Notice is ED’s plan to call each delinquent borrower at the point in time

when the borrower is 90-days delinquent in making payments. ED gave no indication as to when

or how it would implement this new “plan” or the basis for believing that a single call—which it

apparently assumed the borrower would always answer—would reduce debt collection demand

so much as to render this procurement unnecessary.

       As a result of this decision, on May 7, 2018, the Government moved to dismiss the

consolidated protests under RCFC 12(b)(1), attaching the cancellation order and arguing that the

protests are now moot. Dkt. No. 189. On May 10, 2018, Progressive filed a Notice indicating

that it intended to oppose the Government’s Motion to Dismiss. Dkt. No. 198. Progressive has




                                                  4
        Case 1:18-cv-00204-TCW Document 242 Filed 05/21/18 Page 5 of 12



requested leave to file a Supplemental Complaint to address the Government’s recent actions that

continue to present a justiciable claim or controversy for the Court to adjudicate. Dkt. No. 236.

                                          ARGUMENT

I.     The Court Has Continuing Jurisdiction
       Over The Validity Of the Cancellation Of The Procurement

       Because Progressive has requested leave to file a supplemental complaint in this matter,

the Government's motion to dismiss the original complaint is now moot and the Court retains

jurisdiction over this matter. Innovation Dev. Enterprises of Am., Inc. v. United States, No. 11-

217 C, 2012 WL 251985, at *4 (Fed. Cl. Jan. 11, 2012). The 1996 amendments to the Tucker

Act grant this Court “jurisdiction to render judgment on an action by an interested party

objecting to . . . any alleged violation of statute or regulation in connection with a procurement or

a proposed procurement. 28 U.S.C. §1491(b)(1), added by the Administrative Dispute

Resolution Act, Pub. L. No. 104–320, § 12, 110 Stat. 3870, 3874 (1996); see also Systems

Application & Techs., Inc. v. United States, 691 F.3d 1374, 1380-81 (Fed. Cir. 2012).

       The United States Court of Appeals for the Federal Circuit has stated that the Court of

Federal Claims' jurisdiction over “any alleged violation of statute or regulation in connection with

a procurement or a proposed procurement,” 28 U.S.C. § 1491(b)(1) (2012), “provides a broad grant

of jurisdiction because ‘[p]rocurement includes all stages of the process of acquiring property or

services, beginning with the process for determining a need for property or services and ending

with contract completion and closeout.’ ” Sys. Application & Techs., Inc., 691 F.3d at 1381

(emphasis in original); Distrib. Sols, Inc. v. United States, 539 F.3d 1340, 1346 (Fed. Cir. 2008)

(“[T]he phrase, ‘in connection with a procurement or proposed procurement,’ by definition

involves a connection with any stage of the federal contracting acquisition process, including ‘the

process for determining a need for property or services.’ ”).



                                                 5
        Case 1:18-cv-00204-TCW Document 242 Filed 05/21/18 Page 6 of 12



       The Court’s ability to entertain protests challenging an agency’s decision to cancel a

procurement is well-established. See, e.g., Starry Assocs., Inc. v. United States, 127 Fed. Cl.

539, 549 (2016); Coastal Envtl. Grp., Inc. v. United States, 118 Fed. Cl. 1 (2014), WHR Grp.,

Inc. v. United States, 115 Fed. Cl. 386, 398–402 (2014);MORI Assocs., Inc. v. United States, 102

Fed. Cl. 503, 519–25 (2011); Def. Tech., Inc. v. United States, 99 Fed. Cl. 103, 114–15 (2011);

Madison Servs., Inc. v. United States, 90 Fed. Cl. 673 (2009); FFTF Restoration Co. v. United

States, 86 Fed. Cl. 226, 236–45 (2009); see also Croman Corp. v. United States, 724 F.3d 1357,

1363–65 (Fed. Cir. 2013). Moreover, the ability of a plaintiff to use a supplemental complaint to

cure a jurisdictional defect in an earlier-filed complaint is well-settled by binding precedent. See

Coastal Envtl. Grp., Inc. v. United States, 114 Fed. Cl. 124, 132 (2013) (citing cases). As the

Court explained in that case, the Supreme Court has held that a plaintiff who did not satisfy a

“nonwaivable condition of jurisdiction” until after he filed suit could have cured the

jurisdictional defect of his original complaint by filing a supplemental complaint. Id. (citing

Mathews v. Diaz, 426 U.S. 67, 75 (1976)). In Black v. Secretary of Health and Human Services,

the United States Court of Appeals for the Federal Circuit (“Federal Circuit”) explains, the

Mathews decision was “consistent with others holding that defects in a plaintiff's case—even

jurisdictional defects—can be cured while the case is pending if the plaintiff obtains leave to file

a supplemental pleading under Rule 15(d) reciting post-filing events that have remedied this

defect.” 93 F.3d 781, 790 (Fed. Cir. 1996). Whether a supplemental complaint could cure a

defect, the Federal Circuit explained, depended on whether the substantive provision providing

the trial court with subject matter jurisdiction expressly prohibited the filing of a complaint

before a specified waiting period or before the exhaustion of administrative remedies. Id. It

concluded that in the absence of such a provision, and so long as a plaintiff has satisfied the




                                                  6
        Case 1:18-cv-00204-TCW Document 242 Filed 05/21/18 Page 7 of 12



jurisdictional requirements within the relevant limitations period, a complaint may be

supplemented to cure the original jurisdictional defect. Id. at 791–92.

       Applying Coastal, Mathews and Black here, Progressive has cured, with its supplemental

complaint, the jurisdictional defect arising from the cancellation of the procurement that was the

subject of its protest. There are no waiting periods or administrative exhaustion requirements for

bid protests. See 28 U.S.C. § 1491(b) (describing the bid protest jurisdiction of the Court of

Federal Claims). Nor has the statute of limitations for plaintiff's supplemental allegations

expired. See id. §§ 2401 (providing a six-year limitations period for civil actions filed against

the United States), 2501 (providing a six-year limitations period for suits filed in the Court of

Federal Claims). Progressive’s request for leave to supplement the Complaint was filed 15 days

after it received Notice that the Government intended to cancel the solicitation. Dkt. No. 188.

       As detailed in its Supplemental Complaint, Progressive has alleged that the

Government’s decision to cancel is unreasonable, lacks a rational basis, and relies on an arbitrary

and capricious rationale. Accordingly, Progressive’s claims regarding ED’s decision to cancel

the Solicitation are not moot, and this Court should retain jurisdiction to review the validity of

the Government’s actions regarding this procurement as this situation develops.

II.    The Court Retains Jurisdiction Over Progressive’s Entire Protest

       Because ED’s decision to cancel the Solicitation is improper, the Court retains

jurisdiction over Progressive’s entire protest. If there is no rational basis to support cancellation

of the Solicitation and termination of awards, Progressive’s protest grounds concerning the

evaluation of its proposal and the awardees’ proposals remain viable (Counts I-III, and VII), and

should be decided by the Court in accordance with the Rules of this Court. However that

determination cannot exist until the Court first determines whether ED’s cancellation decision




                                                  7
        Case 1:18-cv-00204-TCW Document 242 Filed 05/21/18 Page 8 of 12



was reasonable. If the Court grants relief to Progressive under Count IX of its Supplemental

Complaint (Dkt. No. 236, Exhibit A), the effect would be a return to the status quo that existed

before ED made the decision to cancel the Solicitation, namely, a flawed evaluation and

improper awards to Performant and Windham. If Counts I-III, and VII of Progressive’s

Complaint are dismissed now, and Progressive prevails under Count IX, Progressive will have to

re-file its protest to obtain full relief. Accordingly, is premature to dismiss Counts I-III and VII

at this time, before the Court determines whether ED’s cancellation decision was proper. Upon

prevailing under Count IX, Progressive will seek relief in the form of an award to Progressive, as

an offeror who offered a superior proposal, or, in the alternative, will seek an Order from the

Court requiring ED to re-evaluate the proposals, proceed with the procurement, and make an

award as required by the Solicitation and federal law. Thus, the interests of judicial economy

and efficiency weigh against the outright dismissal of Progressive’s underlying protest grounds

as moot, without further analysis regarding the proprietary and reasonableness of ED’s

cancellation decision.

       Further, the Court retains jurisdiction over any allegations that the Government breached

its duty of good faith and fair dealing and failed to treat all offerors honestly and impartially.

The cancellation of any procurement must comply with the overarching regulatory requirements

of integrity, honesty, and impartial treatment of all prospective contractors. Madison Serv., 92

Fed. Cl. at 127 (citing FAR 1.102 (b) (3); FAR 1.102-2 (c) (3)). Certainly this Court has

continuing jurisdiction to ensure that these requirements are met when a procurement is

cancelled, and the Court is not suddenly deprived of subject matter jurisdiction by the unilateral

actions of the defendant, the very party whose actions are necessarily under scrutiny in the event

of a cancellation. In the cited Madison Serv. decision, plaintiff won award of a competitively




                                                  8
        Case 1:18-cv-00204-TCW Document 242 Filed 05/21/18 Page 9 of 12



procured contract, then the procurement was cancelled, and the agency sought to award a sole

source contract to another company. 92 Fed. Cl. at 124. The Court took jurisdiction of

plaintiff’s claim that cancellation of the procurement was a bad faith “subterfuge” and a mere

litigation tactic. Id.

        Progressive’s Counts IV and V allege that, by engaging in a procedurally and

substantively flawed procurement process, by recalling Progressive’s accounts, by engaging in

unequal treatment of offerors, by engaging in unequal treatment of offerors in violation of the

Competition in Contracting Act (“CICA”), 41 U.S.C. § 253 et seq., and FAR §§ 1.102-2, 1.602-

2, and 3.101-1, and by violating procurement law and the Temporary Restraining Order in place

at the time, the Government breached the duty of good faith and fair dealing and failed to treat

offerors equally. The Government’s cancellation here only adds to its failings and breaches of its

duties/violations of its regulatory obligations, and appears to be a litigation tactic unrelated to

ED’s legitimate procurement needs—which is the very definition of improper cancellation.

        Count VI challenges ED’s improper recall of Progressive’s “in-repayment” accounts

during its corrective action. The harm to Progressive occasioned by ED’s improper corrective

action, resulting in the recall of accounts, is not mooted by cancellation of the procurement; that

harm continues to exist as a violation of procurements laws/regulations in connection with a

procurement or proposed procurement, whether the procurement continues or not. And finally,

the remaining counts in Progressive’s Supplemental Complaint seek declaratory and injunctive

relief, both for cancellation and for relief in the absence of the improper cancellation.

        The Government’s attempt to extricate itself from the self-inflicted harm caused by its

improper evaluations and award, and the improper recall of in-repayment accounts, was to

unilaterally announce that it has decided to end the case by cancelling the procurement and




                                                  9
       Case 1:18-cv-00204-TCW Document 242 Filed 05/21/18 Page 10 of 12



terminating the awards to Performant and Windham. But this Court has jurisdiction to evaluate

the validity of the cancellation, including the Agency’s breach of the duty of good faith and fair

dealing, and its failure to treat offerors honestly and impartially related to its cancellation

decision, as well as the independent claim based on the Agency’s earlier improper corrective

action by recalling Progressive’s “in-repayment” accounts, and, if, as alleged, the cancellation is

improper, all remaining counts in Progressive’s supplemental complaint.

       Progressive therefore requests that the Court deny the Government’s motion, retain

jurisdiction of the matter, and require the Government to explain the rational basis, if any,

underlying its actions, and award Progressive its bid and proposal costs incurred in participating

in the cancelled procurement. See 28 U.S.C. § 1491(b)(2) (Court of Federal Claims has

jurisdiction to award bid and proposal costs in the appropriate circumstances).

                                          CONCLUSION

       For the foregoing reasons, Progressive respectfully requests that this Court deny the

Government’s Motion to Dismiss as Progressive has stated valid claims in its Supplemental

Complaint that should be permitted to proceed to briefing on their merits, in accordance with the

Rules of this Court. Progressive also requests all other relief to which it may be entitled.


Date: May 18, 2018                                     Respectfully submitted,


                                                       /s/ Thomas A. Coulter
                                                       Thomas A. Coulter
                                                       O’Hagan Meyer PLLC
                                                       411 E. Franklin Street, Suite 500
                                                       Richmond, VA 23219
                                                       Tel: (804) 403-7130
                                                       Fax: (804) 403-7110
                                                       E-mail: tcoulter@ohaganmeyer.com
                                                       Counsel of Record for Progressive
                                                       Financial Services, Inc.



                                                  10
      Case 1:18-cv-00204-TCW Document 242 Filed 05/21/18 Page 11 of 12




Of counsel:
Nicole Hardin Brakstad
O’Hagan Meyer PLLC
411 E. Franklin Street, Suite 500
Richmond, VA 23219
Tel: (804) 403-7129
Fax: (804) 403-7110
E-mail: nbrakstad@ohaganmeyer.com




                                     11
       Case 1:18-cv-00204-TCW Document 242 Filed 05/21/18 Page 12 of 12



                                 CERTIFICATE OF SERVICE

        I certify that on May 18, 2018, I will electronically file the foregoing with the Clerk of

Court using the CM/ECF system, which will then send a notification of such filing (NEF) to

counsel for all parties.



                                                      /s/ Thomas A. Coulter
                                                      Thomas A. Coulter




                                                 12
